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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
v.
BRUNO JOSEPH CUA,

Defendant.

CRIMINAL NO. 21-CR-107 (RDM)

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(A)

(Entering and Remaining on the Floor of
Congress)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(C)

(Entering and Remaining in Certain
Rooms in the Capitol Building)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)
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40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, Officer G.L., an officer from the United States Capitol Police
Department, lawfully engaged in the lawful performance of his/her official duties incident to and
during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, BRUNO
JOSEPH CUA, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder, and assaulting, resisting,
opposing, impeding, intimidating and interfering with a United States Capitol Police officer, and

engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2), 2)
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COUNT THREE

On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), that is, G.L., an officer from the United States Capitol Police
Department, while such person was engaged in and on account of the performance of official
duties, and where the acts in violation of this section involve physical contact with the victim and
the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a baton.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
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area within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a baton.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a baton.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4) and (b)(1)(A))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly entered and remained on the floor of a House of Congress and in any
cloakroom and lobby adjacent to that floor, in the Rayburn Room of the House of Representatives,
and in the Marble Room of the Senate, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(A))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly entered and remained in the gallery of either House of Congress, without
authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly, and with the intent to disrupt the orderly conduct of official business,
entered and remained in a room in any of the Capitol Buildings set aside and designated for the
use of either House of Congress and a Member, committee, officer, and employee of Congress,
and either House of Congress, and the Library of Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT TWELVE
On or about January 6, 2021, in the District of Columbia, BRUNO JOSEPH CUA,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.
Cas Dla feet

Attorney of the United States in
and for the District of Columbia.
